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1                                                        Chief Judge Marsha J. Pechman
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6
                                UNITED STATES DISTRICT COURT
7                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
8
     UNITED STATES OF AMERICA,                    )
9                                                 )      NO.     CR11-0131 MJP
                             Plaintiff,           )
10                                                )
                      v.                          )      ORDER DISMISSING
11                                                )      INDICTMENT
     DENG SAMPHAO,                                )
12                                                )
                             Defendant.           )
13                                                )
14             The United States of America filed an unopposed notice of dismissal of the
15   Indictment in CR11-00131 MJP as to the above-named Defendant, pursuant to Rule 48(a)
16   of the Federal Rules of Criminal Procedure.
17             The Court hereby grants leave for dismissal in the interest of justice, and
18             HEREBY ORDERS that all counts of the Indictment in CR11-00131 MJP as to
19   Deng Samphao only are hereby dismissed with prejudice.
20             A copy of this Order shall be served on the United States Marshals Service upon
21   filing.
22             Dated this 20th day of November, 2011.
23

24
                                                         A
                                                         Marsha J. Pechman
                                                         United States District Judge
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     GOVERNMENT’S DISMISSAL OF INDICTMENT/SAMPHAO - 1                             UNITED STATES ATTORNEY
     CR 11-0131 MJP                                                              700 STEWART STREET, SUITE 5220
                                                                                SEATTLE, WASHINGTON 98101-1271
                                                                                         (206) 553-7970
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1    Submitted by:
2    s/Jerrod C. Patterson
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     JERROD C. PATTERSON
     Assistant United States Attorney
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     GOVERNMENT’S DISMISSAL OF INDICTMENT/SAMPHAO - 2                      UNITED STATES ATTORNEY
     CR 11-0131 MJP                                                       700 STEWART STREET, SUITE 5220
                                                                         SEATTLE, WASHINGTON 98101-1271
                                                                                  (206) 553-7970
